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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division

    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, TYLER MAGILL, APRIL
    MUNIZ, HANNAH PEARCE, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, and JOHN DOE,


                           Plaintiffs,
    v.


    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
    ALEX FIELDS, JR., VANGUARD              Civil Action No. 3:17-cv-00072-NKM
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSLEY,
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS,
    LEAGUE OF THE SOUTH, JEFF SCHOEP,
    NATIONAL SOCIALIST MOVEMENT,
    NATIONALIST FRONT, AUGUSTUS SOL
    INVICTUS, FRATERNAL ORDER OF THE
    ALT-KNIGHTS, MICHAEL “ENOCH”
    PEINOVICH, LOYAL WHITE KNIGHTS OF
    THE KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,




                           Defendants.

    LOCAL RULE 11(B) NOTICE OF PLAINTIFF TYLER MAGILL’S MOTION TO
   WITHDRAW AND VOLUNTARILY DISMISS HIS CLAIMS WITHOUT PREJUDICE
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         PLEASE TAKE NOTICE that pursuant to WDVA Local Rule 11(b) and the Court’s Pre-

  Trial Order dated November 14, 2017, Plaintiff Tyler Magill does not seek oral argument on his

  Motion to Withdraw and Voluntarily Dismiss His Claims Without Prejudice, and that his Motion

  is now ripe for decision.




  Dated: April 5, 2019                               Respectfully submitted,

                                                     /s/                  ______
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                                                Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 5, 2019, I filed the foregoing with the Clerk of Court
  through the CM/ECF system, which will send a notice of electronic filing to:

   Justin Saunders Gravatt                             Lisa M. Lorish
   David L. Hauck                                      Federal Public Defenders Office
   David L. Campbell                                   Western District of Virginia - Charlottesville
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   and National Socialist Movement


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          I further hereby certify that on April 5, 2019, I also served the following non-ECF
  participants, via U.S. mail, First Class and postage prepaid, addressed as follows:


   Loyal White Knights of the Ku Klux Klan            Moonbase Holdings, LLC
   a/k/a : Loyal White Knights Church of              c/o Andrew Anglin
   the Invisible Empire, Inc.                         P.O. Box 208
   c/o Chris and Amanda Barker                        Worthington, OH 43085
   2634 U.S. HWY 158 E
   Yanceyville, NC 27379



   Andrew Anglin                                      East Coast Knights of the Ku Klux Klan
   P.O. Box 208                                       a/k/a East Coast Knights of the
   Worthington, OH 43085                              True Invisible Empire
                                                      26 South Pine St.
                                                      Red Lion, PA 17356

   Fraternal Order of the Alt-Knights                 Augustus Sol Invictus
   c/o Kyle Chapman                                   9823 4th Avenue
   52 Lycett Circle                                   Orlando, FL 32824
   Daly City, CA 94015




          I further hereby certify that on April 5, 2019, I also served the following non-ECF
   participants, via electronic mail, as follows:

   Elliot Kline                                       Matthew Heimbach
   eli.f.mosley@gmail.com                             matthew.w.heimbach@gmail.com




                                                        /s/
                                                        Robert T. Cahill (VSB 38562)
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